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                                   #: 4020




                  Thomas-Jensen
                   Affirmation
                    (redacted)


                       Exhibit # 59
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                                   #: 4021
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                       EXHIBIT A
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                                    #: 4031
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                       EXHIBIT B
       Case 1:25-cv-00039-JJM-PAS           Document   68-59
                                            SENSITIVE BUT      Filed 02/07/25
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                                                     #: 4033


                                                                                                    Date: 02/03/2025
                                             Account Profile Inquiry                                   Time: 4:48 PM



ALC/Region:                             Agency Short Name:                    Account ID:
68128933                                RTP-Grants
Recipient ID:                           Recipient Short Name:
                                        EQE

Inquiry Results:

 ACCOUNT DETAILS                                             GRANT DETAILS
          Requestor ID :                                                      Grant : Yes
            Account ID :                                             Federal Award
                                                             Identification Number
                          CERCLA 128(A) RESPONSE                             (FAIN) :
   Account Description : PROGRAM
                                                                      CFDA Number :
    1031/LOC Account : No
                                                             Total Estimated Grant
          Account Type : Regular Account                                    Amount : $0.00
              Group ID :
       Control Account : No                                  AGENCY PAYMENT REVIEW
        Account Status                                             Agency Review : No
              Indicator : Suspended                             Threshold Amount :
     Available Balance : $2,134,786.00                          Reason for Review :
           Create Date : 01/17/2023
            Begin Date : 01/01/2023                          DRAW AMOUNTS
   Performance Period                                            Max Total Draw Amount :
              End Date : 09/30/2027
                                                                 Max Daily Draw Amount :
              End Date : 01/30/2028
                                                               Max Monthly Draw Amount :
       TAS Distribution                                       Max Quarterly Draw Amount :
               Method : Percentage by Account
      Allow Book Entry
           Adjustment : Yes                                  AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused                                           Authorized Renewal
             Payments : Yes                                                 Amount : $0.00
        CMIA Indicator : No                                           Certified Date :
                                                                Renewal Frequency :
 CUMULATIVE AUTHORIZATIONS                                        Pending Renewal
            Cumulative                                                   Frequency :
    Authorized Amount : $2,645,000.00                          Pending Automated
            Cumulative                                            Renewal Amount : $0.00
    Authorized Amount                                        Rollover Reset Quarter :
          Reset Period :
                                                                     Default Action :
   Annual Reset Month :




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       Case 1:25-cv-00039-JJM-PAS        Document   68-59
                                         SENSITIVE BUT      Filed 02/07/25
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                                                  #: 4034


                                                                                                 Date: 02/03/2025
                                          Account Profile Inquiry                                   Time: 4:45 PM



ALC/Region:                          Agency Short Name:                    Account ID:
68128933                             RTP-Grants
Recipient ID:                        Recipient Short Name:
                                     EQE

Inquiry Results:

 ACCOUNT DETAILS                                          GRANT DETAILS
          Requestor ID : 2563074                                           Grant : Yes
            Account ID :                                          Federal Award
                                                          Identification Number
   Account Description : LONG ISLAND SOUND WATERSHED                      (FAIN) :
    1031/LOC Account : No                                          CFDA Number :
          Account Type : Regular Account                  Total Estimated Grant
              Group ID :                                                 Amount : $0.00
       Control Account : No
        Account Status                                    AGENCY PAYMENT REVIEW
              Indicator : Suspended                             Agency Review : No
     Available Balance : $9,576,543.93                       Threshold Amount :
           Create Date : 09/08/2022                          Reason for Review :
            Begin Date : 10/01/2022
   Performance Period                                     DRAW AMOUNTS
              End Date : 07/31/2028                           Max Total Draw Amount :
              End Date : 12/01/2028                           Max Daily Draw Amount :
       TAS Distribution                                     Max Monthly Draw Amount :
               Method : Percentage by Account              Max Quarterly Draw Amount :
      Allow Book Entry
           Adjustment : Yes
                                                          AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused
             Payments : Yes                                 Authorized Renewal
                                                                         Amount : $0.00
        CMIA Indicator : No
                                                                   Certified Date :
 CUMULATIVE AUTHORIZATIONS                                   Renewal Frequency :
            Cumulative                                         Pending Renewal
    Authorized Amount : $10,500,000.00                                Frequency :
            Cumulative                                      Pending Automated
    Authorized Amount                                          Renewal Amount : $0.00
          Reset Period :                                  Rollover Reset Quarter :
   Annual Reset Month :                                           Default Action :




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                                          SENSITIVE BUT      Filed 02/07/25
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                                                   #: 4035


                                                                                                 Date: 02/03/2025
                                          Account Profile Inquiry                                   Time: 4:39 PM



ALC/Region:                          Agency Short Name:                    Account ID:
68128933                             RTP-Grants
Recipient ID:                        Recipient Short Name:
                                     EQE

Inquiry Results:

 ACCOUNT DETAILS                                          GRANT DETAILS
          Requestor ID :                                                   Grant : Yes
            Account ID :                                          Federal Award
                                                          Identification Number
                          MASSDEP EC-SDC GRANT                            (FAIN) :
   Account Description : PROGRAM
                                                                   CFDA Number :
    1031/LOC Account : No
                                                          Total Estimated Grant
          Account Type : Regular Account                                 Amount : $0.00
              Group ID :
       Control Account : No                               AGENCY PAYMENT REVIEW
        Account Status                                          Agency Review : No
              Indicator : Suspended                          Threshold Amount :
     Available Balance : $33,963,178.56                      Reason for Review :
           Create Date : 08/31/2023
            Begin Date : 10/01/2023                       DRAW AMOUNTS
   Performance Period                                         Max Total Draw Amount :
              End Date : 09/30/2029
                                                              Max Daily Draw Amount :
              End Date : 01/30/2030
                                                            Max Monthly Draw Amount :
       TAS Distribution                                    Max Quarterly Draw Amount :
               Method : Percentage by Account
      Allow Book Entry
           Adjustment : Yes                               AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused                                        Authorized Renewal
             Payments : Yes                                              Amount : $0.00
        CMIA Indicator : No                                        Certified Date :
                                                             Renewal Frequency :
 CUMULATIVE AUTHORIZATIONS                                     Pending Renewal
            Cumulative                                                Frequency :
    Authorized Amount : $38,204,000.00                      Pending Automated
            Cumulative                                         Renewal Amount : $0.00
    Authorized Amount                                     Rollover Reset Quarter :
          Reset Period :
                                                                  Default Action :
   Annual Reset Month :




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       Case 1:25-cv-00039-JJM-PAS         Document   68-59
                                          SENSITIVE BUT      Filed 02/07/25
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                                                   #: 4036


                                                                                                 Date: 02/03/2025
                                          Account Profile Inquiry                                   Time: 4:42 PM



ALC/Region:                          Agency Short Name:                    Account ID:
                                     RTP-Grants
Recipient ID:                        Recipient Short Name:
                                     EQE

Inquiry Results:

 ACCOUNT DETAILS                                          GRANT DETAILS
          Requestor ID :                                                   Grant : Yes
            Account ID :                                          Federal Award
                                                          Identification Number
                          MASSDEP EC-SDC GRANT                            (FAIN) :
   Account Description : PROGRAM 2
                                                                   CFDA Number : 66442.000
    1031/LOC Account : No
                                                          Total Estimated Grant
          Account Type : Regular Account                                 Amount : $0.00
              Group ID :
       Control Account : No                               AGENCY PAYMENT REVIEW
        Account Status                                          Agency Review : No
              Indicator : Suspended                          Threshold Amount :
     Available Balance : $19,248,854.92                      Reason for Review :
           Create Date : 09/11/2024
            Begin Date : 10/01/2024                       DRAW AMOUNTS
   Performance Period                                         Max Total Draw Amount :
              End Date : 09/30/2030
                                                              Max Daily Draw Amount :
              End Date : 01/30/2031
                                                            Max Monthly Draw Amount :
       TAS Distribution                                    Max Quarterly Draw Amount :
               Method : Percentage by Account
      Allow Book Entry
           Adjustment : Yes                               AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused                                        Authorized Renewal
             Payments : Yes                                              Amount : $0.00
        CMIA Indicator : No                                        Certified Date :
                                                             Renewal Frequency :
 CUMULATIVE AUTHORIZATIONS                                     Pending Renewal
            Cumulative                                                Frequency :
    Authorized Amount : $19,249,000.00                      Pending Automated
            Cumulative                                         Renewal Amount : $0.00
    Authorized Amount                                     Rollover Reset Quarter :
          Reset Period :
                                                                  Default Action :
   Annual Reset Month :




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                                                                                                  Date: 02/03/2025
                                           Account Profile Inquiry                                   Time: 4:52 PM



ALC/Region:                           Agency Short Name:                    Account ID:
                                      RTP-Grants
Recipient ID:                         Recipient Short Name:
                                      EQE

Inquiry Results:

 ACCOUNT DETAILS                                           GRANT DETAILS
          Requestor ID :                                                    Grant : Yes
            Account ID :                                           Federal Award
                                                           Identification Number
                          ENHANCING PROTECTION OF                          (FAIN) :
   Account Description : ENVIRO
                                                                    CFDA Number :
    1031/LOC Account : No
                                                           Total Estimated Grant
          Account Type : Regular Account                                  Amount : $0.00
              Group ID :
       Control Account : No                                AGENCY PAYMENT REVIEW
        Account Status                                           Agency Review : No
              Indicator : Suspended                           Threshold Amount :
     Available Balance : $512,298.72                          Reason for Review :
           Create Date : 06/26/2023
            Begin Date : 10/01/2023                        DRAW AMOUNTS
   Performance Period                                          Max Total Draw Amount :
              End Date : 09/30/2025
                                                               Max Daily Draw Amount :
              End Date : 01/30/2026
                                                             Max Monthly Draw Amount :
       TAS Distribution                                     Max Quarterly Draw Amount :
               Method : Percentage by Account
      Allow Book Entry
           Adjustment : Yes                                AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused                                         Authorized Renewal
             Payments : Yes                                               Amount : $0.00
        CMIA Indicator : No                                         Certified Date :
                                                              Renewal Frequency :
 CUMULATIVE AUTHORIZATIONS                                      Pending Renewal
            Cumulative                                                 Frequency :
    Authorized Amount : $681,932.00                          Pending Automated
            Cumulative                                          Renewal Amount : $0.00
    Authorized Amount                                      Rollover Reset Quarter :
          Reset Period :
                                                                   Default Action :
   Annual Reset Month :




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                                                                                                  Date: 02/03/2025
                                           Account Profile Inquiry                                   Time: 4:49 PM



ALC/Region:                           Agency Short Name:                    Account ID:
68128933                              RTP-Grants
Recipient ID:                         Recipient Short Name:
                                      EQE

Inquiry Results:

 ACCOUNT DETAILS                                           GRANT DETAILS
          Requestor ID :                                                    Grant : Yes
            Account ID :                                           Federal Award
                                                           Identification Number
   Account Description : RECYCLESMART MA INITIATIVE                        (FAIN) :
    1031/LOC Account : No                                           CFDA Number :
          Account Type : Regular Account                   Total Estimated Grant
              Group ID :                                                  Amount : $0.00
       Control Account : No
        Account Status                                     AGENCY PAYMENT REVIEW
              Indicator : Suspended                               Agency Review : No
     Available Balance : $79,315.03                            Threshold Amount :
           Create Date : 08/09/2023                            Reason for Review :
            Begin Date : 10/01/2023
   Performance Period                                      DRAW AMOUNTS
              End Date : 09/30/2025                            Max Total Draw Amount :
              End Date : 01/30/2026                            Max Daily Draw Amount :
       TAS Distribution                                      Max Monthly Draw Amount :
               Method : Percentage by Account               Max Quarterly Draw Amount :
      Allow Book Entry
           Adjustment : Yes
                                                           AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused
             Payments : Yes                                  Authorized Renewal
                                                                          Amount : $0.00
        CMIA Indicator : No
                                                                    Certified Date :
 CUMULATIVE AUTHORIZATIONS                                    Renewal Frequency :
            Cumulative                                          Pending Renewal
    Authorized Amount : $410,563.00                                    Frequency :
            Cumulative                                       Pending Automated
    Authorized Amount                                           Renewal Amount : $0.00
          Reset Period :                                   Rollover Reset Quarter :
   Annual Reset Month :                                            Default Action :




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                                                                                                 Date: 02/03/2025
                                          Account Profile Inquiry                                   Time: 4:51 PM



ALC/Region:                          Agency Short Name:                    Account ID:
68128933                             RTP-Grants
Recipient ID:                        Recipient Short Name:
                                     EQE

Inquiry Results:

 ACCOUNT DETAILS                                          GRANT DETAILS
          Requestor ID :                                                   Grant : Yes
            Account ID :                                          Federal Award
                                                          Identification Number
                          MA AIR SENSOR PROGRAM                           (FAIN) :
   Account Description : 60105C
                                                                   CFDA Number :
    1031/LOC Account : No
                                                          Total Estimated Grant
          Account Type : Regular Account                                 Amount : $0.00
              Group ID :
       Control Account : No                               AGENCY PAYMENT REVIEW
        Account Status                                          Agency Review : No
              Indicator : Suspended                          Threshold Amount :
     Available Balance : $21,925.00                          Reason for Review :
           Create Date : 08/28/2024
            Begin Date : 07/01/2024                       DRAW AMOUNTS
   Performance Period                                         Max Total Draw Amount :
              End Date : 06/30/2029
                                                              Max Daily Draw Amount :
              End Date : 10/30/2029
                                                            Max Monthly Draw Amount :
       TAS Distribution                                    Max Quarterly Draw Amount :
               Method : Percentage by Account
      Allow Book Entry
           Adjustment : Yes                               AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused                                        Authorized Renewal
             Payments : Yes                                              Amount : $0.00
        CMIA Indicator : No                                        Certified Date :
                                                             Renewal Frequency :
 CUMULATIVE AUTHORIZATIONS                                     Pending Renewal
            Cumulative                                                Frequency :
    Authorized Amount : $21,925.00                          Pending Automated
            Cumulative                                         Renewal Amount : $0.00
    Authorized Amount                                     Rollover Reset Quarter :
          Reset Period :
                                                                  Default Action :
   Annual Reset Month :




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       Case 1:25-cv-00039-JJM-PAS           Document   68-59
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                                                     #: 4040


                                                                                                    Date: 02/03/2025
                                             Account Profile Inquiry                                   Time: 4:50 PM



ALC/Region:                             Agency Short Name:                    Account ID:
68128933                                RTP-Grants
Recipient ID:                           Recipient Short Name:
                                        EQE

Inquiry Results:

 ACCOUNT DETAILS                                             GRANT DETAILS
          Requestor ID :                                                      Grant : Yes
            Account ID :                                             Federal Award
                                                             Identification Number
                          AMBIENT AIR MONITORING IN                          (FAIN) :
   Account Description : MASS
                                                                      CFDA Number :
    1031/LOC Account : No
                                                             Total Estimated Grant
          Account Type : Regular Account                                    Amount : $0.00
              Group ID :
       Control Account : No                                  AGENCY PAYMENT REVIEW
        Account Status                                             Agency Review : No
              Indicator : Suspended                             Threshold Amount :
     Available Balance : $1,024,522.83                          Reason for Review :
           Create Date : 09/09/2024
            Begin Date : 07/01/2024                          DRAW AMOUNTS
   Performance Period                                            Max Total Draw Amount :
              End Date : 06/30/2029
                                                                 Max Daily Draw Amount :
              End Date : 10/30/2029
                                                               Max Monthly Draw Amount :
       TAS Distribution                                       Max Quarterly Draw Amount :
               Method : Percentage by Account
      Allow Book Entry
           Adjustment : Yes                                  AUTOMATED AUTHORIZATION RENEWALS
    Allow Warehoused                                           Authorized Renewal
             Payments : Yes                                                 Amount : $0.00
        CMIA Indicator : No                                           Certified Date :
                                                                Renewal Frequency :
 CUMULATIVE AUTHORIZATIONS                                        Pending Renewal
            Cumulative                                                   Frequency :
    Authorized Amount : $1,170,472.00                          Pending Automated
            Cumulative                                            Renewal Amount : $0.00
    Authorized Amount                                        Rollover Reset Quarter :
          Reset Period :
                                                                     Default Action :
   Annual Reset Month :




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